







		NO. 12-08-00409-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


IN THE INTEREST OF§
		APPEAL FROM THE 321ST


S.S., T.S., AND K.S.,§
		DISTRICT COURT OF 


MINOR CHILDREN §
		SMITH COUNTY, TEXAS

______________________________________________________________________________

MEMORANDUM OPINION


PER CURIAM



	This appeal is being dismissed for want of jurisdiction pursuant to Texas Rule of Appellate
Procedure 42.3(a).  The trial court's judgment terminating Appellant's parental rights was signed
on July 24, 2008.  The procedures for an accelerated appeal apply to an appeal in which the
termination of the parent-child relationship is in issue.  Tex. Fam. Code Ann. § 109.002(a)
(Vernon 2002).  Under rule of appellate procedure 26.1(b), the notice of appeal in an accelerated
appeal must be filed within twenty days after the judgment or other order is signed, i.e., August&nbsp;13,
2008.  

	Appellant filed a notice of appeal on October 9, 2008.  Because the notice of appeal was
not filed on or before August 13, 2008, it is untimely.  Appellant also filed a motion for new trial.
To be considered timely, Appellant's motion for new trial must have been filed on or before
August 13, 2008.  See Tex. R. Civ. P. 329b(a) (motion for new trial must be filed within thirty days
after judgment or other order complained of is signed).  Because it was not, the motion for new
trial was untimely.  See Tex. R. App. P. 26.1(a).  In this case, however, the timeliness of
Appellant's motion for new trial is irrelevant, because a motion for new trial does not extend the
time to perfect an accelerated appeal.  See Tex. R. App. P. 28.1.  Appellant did not file a motion for
extension of time to file the notice of appeal as permitted by Texas Rule of Appellate Procedure
26.3.  Because the notice of appeal was not filed on or before August&nbsp;13, 2008 and Appellant's
time for filing the notice had not been extended, this court has no jurisdiction to consider the
appeal.

	On October 10, 2008, this court notified Appellant pursuant to Texas Rule of Appellate
Procedure 42.3(a) that his notice of appeal was untimely.  Appellant was further informed that
unless the record was amended on or before October 20, 2008 to establish the jurisdiction of this
court, the appeal would be dismissed.  To date, Appellant has neither responded to our October 10,
2008 notice nor shown the jurisdiction of this court.

	Because this court is not authorized to extend the time for perfecting an appeal except as
provided by Texas Rules of Appellate Procedure 26.1 and 26.3, the appeal is dismissed for want
of jurisdiction.  See Tex. R. App. P.  42.3(a).  

	Opinion delivered October 22, 2008.

	Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.

















(PUBLISH)


